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   1                              UNITED STATES DISTRICT COURT
   2
               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   3

   4
       EDDIE WAYNE HUTCHISON,              )
       an individual, on behalf of himself )             Case No.
   5   and all others similarly situated   )             2:07-cv-07464-GW-CT
   6                                       )
                          Plaintiff,       )
   7                                       )
   8         vs.                           )
                                           )
   9   R.M. GALICIA, INC., a California    )
  10   Corporation, doing business as      )
       PROGRESSIVE MANAGEMENT              )
  11   SYSTEMS; and JOHN and JANE DOES )
  12   1 through 10 inclusive,             )
                                           )
  13                      Defendants.      )
  14   ____________________________________)

  15                               FINAL ORDER AND JUDGMENT
  16
               On November 14, 2007, plaintiff, Eddie Wayne Hutchison (hereinafter
  17

  18   referred to as “Plaintiff” or “Class Representative”), filed the above-captioned
  19   class action lawsuit (hereinafter referred to as “Lawsuit”) against defendant,
  20
       R.M. Galicia, Inc., d/b/a Progressive Management Systems (hereinafter referred
  21

  22   to as “PMS”), asserting class claims under the Fair Debt Collection Practices
  23   Act (hereinafter referred to as the “FDCPA”), 15 U.S.C. § 1692, et seq.; the
  24
       Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code § 1788, et seq.;
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   1   and, the California Unfair Competition Law, Cal. Bus. & Prof. Code § 17200, et
   2
       seq. PMS denied any and all liability alleged in the Lawsuit.
   3

   4
               On May 29, 2008, Plaintiff and PMS (hereinafter jointly referred to as the

   5   “Parties”) entered into their original Class Action Settlement Agreement.
   6
               On December 10, 2008, the Parties filed their original Class Action
   7

   8   Settlement Agreement.

   9           On December 18, 2008, PMS provided notice of the proposed class
  10
       settlement to the various federal and state officials per the Class Action Fairness
  11

  12   Act of 2005 (hereinafter referred to as “CAFA”), Pub. L. No. 109-2, 119 Stat. 4.

  13           On March 13, 2009, based upon requests from various state officials
  14
       responding to CAFA notices, the Parties filed an addendum to the original
  15

  16   settlement agreement.

  17           On April 6, 2009, the Court held a hearing regarding the proposed class
  18
       settlement and directed the Parties to submit a revised Class Action Settlement
  19

  20   Agreement, incorporating the proposed changes set forth in the addendum, so
  21   that there would be one document explaining the settlement terms.
  22
               On April 13, 2009, the Parties filed the first revised Class Action
  23

  24   Settlement Agreement, incorporating the addendum.
  25

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   1           On April 16, 2009, the Court held a second hearing regarding the
   2
       proposed class settlement.      The Court voiced some concerns regarding
   3

   4
       ambiguity in the settlement documents and suggested the Parties submit another

   5   revised agreement.
   6
               On May 12, 2009, the Parties filed their second revised Class Action
   7

   8   Settlement Agreement (hereinafter referred to as the “Agreement”), along with a

   9   Revised Joint Motion for Preliminary Approval of Class Action Settlement
  10
       Agreement (hereinafter referred to as the “Preliminary Approval Motion”).
  11

  12           On May 22, 2009, upon consideration of the Parties’ Preliminary

  13   Approval Motion and the record, the Court entered an Order of Preliminary
  14
       Approval of Class Action Settlement (hereinafter referred to as the “Preliminary
  15

  16   Approval Order”). Pursuant to the Preliminary Approval Order, the Court,

  17   among other things, (i) preliminarily certified (for settlement purposes only) a
  18
       class of plaintiffs (hereinafter referred to as the “National Class Members”) with
  19

  20   respect to the claims asserted in the Lawsuit; (ii) preliminarily approved the
  21   proposed settlement and Stipulation and [Proposed] Order for Injunction
  22
       (hereinafter referred to as the “Stipulated Injunction”); (iii) preliminarily
  23

  24   appointed Plaintiff as the Class Representative; (iv) preliminarily appointed
  25   SHEWRY & VAN DYKE, LLP as Class Counsel; (v) ordered counsel for PMS
  26

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   1   to reissue CAFA notices, along with the Agreement; and, (vi) set the date and
   2
       time for the Fairness Hearing.
   3

   4
               On July 2, 2009, the Parties filed their Joint Motion for Final Approval of

   5   Class Action Settlement Agreement (hereinafter referred to as the “Final
   6
       Approval Motion”).
   7

   8           On July 9, 2009, a Fairness Hearing was held pursuant to Fed. R. Civ. P.

   9   23 to determine whether the Lawsuit satisfies the applicable prerequisites for
  10
       class action treatment and whether the proposed settlement is fundamentally
  11

  12   fair, reasonable, adequate, and in the best interests of the National Class

  13   Members and should be approved by the Court.
  14
               The Parties now request final certification of the settlement class under
  15

  16   Fed. R. Civ. P. 23(b)(2) and final approval of the proposed class action

  17   settlement.
  18
               The Court has read and considered the Agreement, the Final Approval
  19

  20   Motion, and the record. All capitalized terms used herein have the meanings
  21   defined herein and/or in the Agreement.
  22
               NOW, THEREFORE, IT IS HEREBY ORDERED:
  23

  24           1.      The Court has jurisdiction over the subject matter of the lawsuit and
  25   over all settling parties hereto.
  26

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   1           2.      CLASS MEMBERS – Pursuant to Fed. R. Civ. P. 23(b)(2), the
   2
       Lawsuit is hereby finally certified as a class action on behalf of the following
   3

   4
       National Class Members:

   5           All persons residing in the United States who received a telephone
   6           call or message from PMS in connection with the collection of a
               consumer debt incurred primarily for personal, family, or
   7           household purposes between November 14, 2003 and May 22, 2009
   8           i.e., the day the Order of Preliminary Approval of Class Action
               Settlement was entered, wherein PMS failed to disclose (a) the call
   9           was from a debt collector, (b) the purpose of the call, (c) its
  10           identity, and/or (d) the names or registered aliases of the callers, as
               required by the FDCPA, or some similar state law.
  11

  12           3.      CLASS      REPRESENTATIVE           AND      CLASS        COUNSEL

  13   APPOINTMENT – Pursuant to Fed. R. Civ. P. 23, the Court finally certifies
  14
       Plaintiff as the Class Representative and SHEWRY & VAN DYKE, LLP as
  15

  16   Class Counsel.

  17           4.      FINAL CLASS CERTIFICATION – The Court finds that the
  18
       Lawsuit satisfies the applicable prerequisites for class action treatment under
  19

  20   Fed. R. Civ. P. 23, namely:
  21           A.      The National Class Members are so numerous that joinder of all of
  22
                       them in the Lawsuit is impracticable;
  23

  24           B.      There are questions of law and fact common to the National Class
  25                   Members, which predominate over any individual questions;
  26

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   1           C.      Plaintiff’s claims are typical of the claims of the National Class
   2
                       Members;
   3

   4
               D.      Plaintiff and Class Counsel have fairly and adequately represented

   5                   and protected the interests of all of the National Class Members;
   6
                       and
   7

   8           E.      Class treatment of these claims will be efficient and manageable,

   9                   thereby achieving an appreciable measure of judicial economy.
  10
               5.      The Court finds that the settlement of the Lawsuit, on the terms and
  11

  12   conditions set forth in the Agreement, is in all respects fundamentally fair,

  13   reasonable, adequate, and in the best interests of the settling class members,
  14
       especially in light of the benefits to the settling class members; the strength of
  15

  16   the Plaintiff’s case; the complexity, expense, and probable duration of further

  17   litigation; the risk and delay inherent in possible appeals; the risk of collecting
  18
       any judgment obtained on behalf of the national class; and the limited amount of
  19

  20   any potential total recovery for the class.
  21           6.      STIPULATED INJUNCTION – The Court finally approves and
  22
       hereby enters the Stipulated Injunction. Pursuant to the Stipulated Injunction,
  23

  24   PMS is be ordered to use its Best Efforts to ensure that in all telephone
  25   communications to a debtor subject to the FDCPA it (a) identifies itself by
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   1   stating the name of the business; (b) identifies itself as a “debt collector” and/or
   2
       “bill collector”; and, (c) states that the purpose of the communication is to
   3

   4
       collect a debt. The Parties will submit a joint motion to the Court to extinguish

   5   the Stipulated Injunction 12 months after the entry date.               Although its
   6
       conferencing and reporting obligations will terminate after 1 year, PMS will
   7

   8   thereafter continue to use its best efforts to stay in compliance with the

   9   appropriate state and federal regulations.
  10
               7.      SETTLEMENT TERMS – The Agreement, which is attached
  11

  12   hereto as Exhibit A and shall be deemed incorporated herein, and the proposed

  13   settlement are finally approved and shall be consummated in accordance with
  14
       the terms and provisions thereof, except as amended by any order issued by this
  15

  16   court. The material terms of the agreement include, but are not limited to, the

  17   following:
  18
               A.      PMS must comply with the aforementioned Stipulated Injunction;
  19

  20           B.      PMS must pay Plaintiff $1,500 for his services as the Class
  21                   Representative and for his individual settlement; and
  22
               C.      PMS must pay Class Counsel a total of $15,000 in attorneys’ fees,
  23

  24                   costs, and expenses.
  25

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   1           8.      OBJECTIONS AND EXCLUSIONS – Pursuant to CAFA, PMS
   2
       notified the appropriate federal and state officials of the proposed settlement
   3

   4
       twice, with the last notice including the latest iteration of the Agreement that the

   5   Court hereby approves. The Parties adequately addressed the minor concerns
   6
       raised by a few attorney generals after the first CAFA notice was issued, and
   7

   8   those attorney generals subsequently approved the settlement hereby entered by

   9   the Court. Pursuant to Fed. R. Civ. P. 23(b)(2), the National Class Members
  10
       were not permitted to exclude themselves from the settlement, and so no
  11

  12   opportunity for exclusion was provided to the National Class Members.

  13           9.      RELEASE OF CLAIMS AND DISMISSAL OF LAWSUIT – The
  14
       National Class Members, and their successors and assigns fully, finally, and
  15

  16   forever settle, release, and discharge the “Released Parties” (as defined in the

  17   Agreement) from the “Released Claims” (as defined in the Agreement), and are
  18
       forever barred and enjoined from asserting any of the Released Claims in any
  19

  20   court or forum whatsoever, except the National Class Members will have the
  21   right to file only a separate individual action against any of the Released Parties
  22
       for only Money Damages, injunctive relief, and related attorneys’ fees. In other
  23

  24   words, the National Class Members are only releasing their right to pursue the
  25   Released Claims in a class action against the Released Parties. Neither the
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   1   Agreement, nor the settlement this Court approves, settle or release any of the
   2
       National Class Members’ individual claims for money damages, injunctive
   3

   4
       relief, or their right to attorneys’ fees.

   5           10.     Plaintiff fully, finally, and forever settles, releases, and discharges
   6
       the Released Parties from any and all claims that he may have against the
   7

   8   Released Parties, including, but not limited to, the Released Claims and any

   9   other claims that were asserted in the Lawsuit. This release includes the release
  10
       of any claims asserted in the Lawsuit for Money Damages, injunctive relief, and
  11

  12   attorneys’ fees.

  13           11.     The Lawsuit is hereby dismissed with prejudice in all respects.
  14
               12.     This order is not, and shall not be construed as, an admission by
  15

  16   PMS of any liability or wrongdoing in this or in any other proceeding.

  17   ///
  18
       ///
  19

  20   ///
  21   ///
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    1           13.     The Court hereby retains continuing and exclusive jurisdiction over
    2
        the Parties and all matters relating to the Lawsuit and/or Agreement, including
    3

    4
        the administration, interpretation, construction, effectuation, enforcement, and

    5   consummation of the settlement and this order.
    6
                                               ORDER
    7

    8           IT IS SO ORDERED.

    9           DATED: July 9, 2009
   10

   11           ____________________________________
   12           THE HONORABLE GEORGE H. WU
                UNITED STATES DISTRICT COURT JUDGE
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